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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA, :
-against- : 19-CR-472 (PAC)
Salvatore Tagliaferro, : OPINION & ORDER
Defendant :
- ---- ---- : X

 

The District Council of New York City and Vicinity of the United Brotherhood of
Carpenters and Joiners of America (the “Union”) moves to quash two subpoenas duces tecum
that were served by Defendant Salvatore Tagliaferro. For the reasons set forth below, the motion
to quash is GRANTED.

BACKGROUND

In June 2019, Tagliaferro was arrested and charged with alleged criminal acts when he
was President of the Union’s Local Chapter 926. There are three counts: (1) conspiracy to
convert labor union property and commit honest services wire fraud, in violation of 18 U.S.C. §
371; (2) conversion of union assets, in violation of 29 U.S.C. § 501(c) and 18 U.S.C. § 2; and (3)
honest services wire fraud, in violation of 18 U.S.C. §§ 1343, 1346, and 2. (ECF 2.) Tagliaferro
will stand trial beginning on April 5, 2021.

In preparation of his defense, Tagliaferro served a subpoena duces tecum (the
“Subpoena”) on the Union’s Inspector General Office.! (Union Mot., Exhibit A, ECF 82.) The

Subpoena reads:

 

! The Union operates under a 1994 Consent Decree with the Government. (Union Mot. at 3.)
Under the consent decree, the court appoints “a series of [independent] monitors” to oversee the

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This subpoena calls for the production of all documents within the control,
custody, and/or possession of the Inspector General’s Office that relates to any
investigation and inquiry into allegations of the improper insurance of union
membership cards to applicants to Local 926 of the United Brotherhood of
Carpenters and Joinders of America for the years 2017, 2018, and 2019?
(Id.)
Following service, the Union and Tagliaferro conferred about narrowing the scope of the
Subpoena. (Jd. at 1-2.) That meeting, however, proved to be futile. (/d.) As a result, the Union
filed a motion to quash the Subpoena pursuant to Rule 17(c) of the Federal Rules of Criminal
Procedure. (/d.)

In support of its motion to quash, the Union principally contends that the Subpoena is
overly broad in its production request. (/d. at 6.) The Union also contends that the law
enforcement privilege protects the materials sought by the Subpoena. (id. at 5.) Tagliaferro
responds that the Union possesses exculpatory evidence that is relevant to his defense, and
because the Government has not produced such documents as required under Brady v. Maryland,

373 U.S. 183 (1963), that he can only obtain this evidence directly from the Union.’ (Tagliaferro

Resp. at 1, ECF 89.)

 

operations of the Union. (/d.) The current monitor is Glen G. McGorty, who has served in that
role since January 2015. (/d.)

* The Subpoena further defines “documents” as:

[A]ny and all documents and records, in whatever form kept, including, but not
limited to, writings, emails, text messages, messages sent through “apps” or social
media accounts, memorandum of interviews of witnesses, drawings, graphs,
charts, calendar entries, photographs, audio or visual recordings, images, and
other data or data compilations, and includes material on both paper and in
electronic form. (Union Mot., Exhibit A.)

3 In a letter dated October 30, 2020, the Government states that it has “periodically received”
documents from the Union, which it has either already produced to Tagliaferro or will produce in

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The Court ordered a one week meet-and-confer between the parties to discuss the
possibility of agreeing to a narrower production request. (ECF 91.) The parties failed to reach
an agreement. Tagliaferro, however, proposed a more narrowly tailored subpoena duces tecum

(“Amended Subpoena”), which asks for:

1. Any documents, reports, or information in the possession and/or control of the
District Council indicating that Defendant Tagliaferro had no knowledge that
co-defendant John DeFalco had been receiving cash payments in exchange for
membership in Local 926 of the United Brotherhood of Carpenters and
Joinders of America (“Local 926”).

2. Any documents, reports, or information in the possession and/or control of the
District Council indicating that Defendant Tagliaferro had no intent to commit
the crimes charged in the instant Indictment.

3. Any documents, reports, or information in the possession and/or control of the
District Council indicating that Defendant Tagliaferro had a motive — other
than money — to increase the membership of Local 926.

(Tagliaferro Second Resp., ECF 92.)

The Union now moves to quash both the Subpoena and Amended Subpoena. (Union

Reply, ECF 93.) The Court grants the motion.

 

advance of trial. (Gov’t Letter, ECF 94.) The Government also stated that none of the Union

documents in its current possession implicates the production requests set forth in the Amended
Subpoena. (/d.)

 
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DISCUSSION

L Applicable Law

Rule 17(c)(2) of the Federal Rules of Criminal Procedure provides that, “On motion
made promptly, the court may quash or modify the subpoena if compliance would be
unreasonable or oppressive.” Fed. R. Crim, Proc. 17(c)(2). To survive a motion to quash, the
party seeking production must prove, by a preponderance of the evidence, that its subpoena
duces tecum satisfies the four-part test set forth in United States v. Nixon, 418 U.S. 683, 699-700
(1974). See United States v. Pena, No. 15-CR-551 (AJN), 2016 WL 8735699, at *2 (S.D.N.Y.
Feb. 12, 2016). Under Nixon, “the materials sought to be produced” must be “(1) relevant, (2)
admissible, (3) specifically identified, and (4) not otherwise procurable.” United States v.
Cognetta, No. 18 CR 14 (VM), 2019 WL 4198544, at *2 (S.D.N.Y. Aug. 13, 2019) (citing
Nixon, 418 U.S. at 699-700). If these four factors are not met, then the subpoena duces tecum is
deemed “unreasonable or oppressive” and must be quashed under Rule 17(c)(2). Nixon, 418
U.S. at 699-700 (explaining these factors as “burdens” the seeking party must “carry”).
“Conclusory statements are insufficient to satisfy the Nixon requirements.” United States v.

Barnes, No. S9 04 CR 186 SCR, 2008 WL 9359654, at *3 (S.D.N.Y. Apr. 2, 2008).

The chief purpose of Rule 17(c) subpoenas is to “expedite the trial by providing a time
and place before trial for the inspection of the subpoenaed materials.” See Bowman Dairy Co. v.
United States, 341 U.S. 214, 220 (1951). The rule is not meant to “provide an additional means
of discovery” in criminal cases. Id. Thus a broadly drawn and unspecific subpoena duces tecum

must be quashed under Rule 17(c). See United States v. lozia, 13 F.R.D. 335, 338 (S.D.N.Y.

 
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1952) (explaining that Rule 17(c) does not permit a “general fishing expedition”); see also

Nixon, 418 U.S. at 699~700.4

H. Application

A. The Subpoena

Because the Subpoena does not satisfy Nixon’s four-part test, the Court concludes that it
must be quashed under Rule 17(c)(2). Specifically, the Subpoena does not satisfy the specificity
requirement under Nixon. 418 U.S. at 699-700. The Subpoena broadly requests production of
“all documents . . . that relate[] to any investigation and inquiry” by the Union into “the improper
insurance of union membership cards” from 2017 to 2019. (Union Mot., Exhibit A.) Moreover,
the Subpoena defines “[d]ocuments” in a breathtakingly broad manner: as “any and all
documents and records, in whatever form kept[.]” (/d.) (emphasis added). The terms employed
here—“any,” “all,” and “whatever”—do not evince specificity. Cf United States v. Carroll, No.
19 CR 545 (CM), 2020 WL 104813, at *2 (S.D.N_Y. Jan. 9, 2020) (finding subpoena asking for
“every email” to be “wildly overbroad”), United States y. Avenatti, No. SLI9CR373PGG, 2020
WL 508682, at *5 (S.D.N.Y. Jan. 31, 2020) (“In seeking all communications that reference

Avenatti over a nine-month period following Avenatti's March 25, 2019 arrest, the Defendant

 

4 Tagliaferro argues that the more lenient reading of Rule 17(c) proposed by Judge Scheindlin in
United States v. Nachamie, 91 F.Supp.2d 552, 562 (S.D.N.Y. 2000), should apply instead of
Nixon. In Nachamie, Judge Scheindlin stated that in cases where a defendant seeks to enforce a
subpoena duces tecum against a third party that is not the Government, all Rule 17(c) requires is
that the subpoena be (1) reasonable or “material to the defense” and (2) “not unduly
oppressive[.]” Id. at 563. This conclusion flowed from Judge Scheindlin’s view that Nixon’s
stringent four-part test was at odds with the plain text of Rule 17(c). However, because Nixon
has not been displaced as precedent, this Court must apply it, as other courts in this district
“almost unanimously” have done. See United States v. Skelos, No. 15-CR-317 (KMW), 2018
WL 2254538, at *1 (S.D.N.Y. May 17, 2018) (collecting cases).
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sweeps too broadly.”), At bottom, the Subpoena reads like a discovery request, which is not
permitted under Rule 17(c). See Bowman Dairy Co., 341 U.S. at 220; see also United States v.
Cherry, 876 F. Supp. 547, 552 (S.D.N.Y. 1995) (cautioning courts to “be careful that [R]ule
17(c) is not turned into a broad discovery device, thereby undercutting the strict limitation of
discovery in criminal cases found in [Rule] 16”) (cleaned up).

Tagliaferro’s arguments that the Subpoena satisfies the specificity requirement under
Nixon raust be rejected. On the issue of specificity, Tagliaferro argues that the Subpoena was
made in “good faith” and that he is entitled, under the Federal Constitution, to compulsory
process and the opportunity to “obtain evidence.” (Tagliaferro Resp. at 3.) But while this may
all be true, these allegations do not bear on the narrow issue of specificity. Accordingly,
Tagliaferro has not met his burden under Nixon and the motion to quash must be granted with
respect to the Subpoena. 418 U.S. at 699-700.

B. Amended Subpoena

The Court also concludes that the Amended Subpoena must be quashed, but on different
grounds than the Subpoena. It should be noted at the outset that the Amended Subpoena
considerably narrows the universe of materials sought from the Union. See supra 3. But
specificity is only one of the four conjunctive factors required under Nixon, and here, the
admissibility requirement remains unsatisfied. 418 U.S. at 699-700; see Cherry, 876 F. Supp. at
552 (“[I]n order to be procurable by means of a Rule 17(c) subpoena, materials must themselves
be admissible evidence.”). In his moving papers, Tagliaferro sets forth no explanation for how
the materials sought in the Amended Subpoena will be admissible at trial. See Barnes, 2008 WL
9359654, at *4 (quashing subpoena because defendant “fails to even proffer a reason for how the

evidence sought would be admissible at all”). That is particularly concerning here where the

 
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Amended Subpoena expansively requests production of “[a]ny documents, reports, or
information[.]” (Tagliaferro Second Resp. at 1.) At trial, any number of such documents could
“likely constitute hearsay or contain privileged material which could render them inadmissible.”
Barnes, 2008 WL 9359654, at *4. Thus because Tagliaferro has not met his burden of proving
admissibility, the Court concludes that the Amended Subpoena must be quashed. Nixon, 418
U.S. at 699-700.

Finally, though the parties expend much of their breath on the Union’s invocation of the
law enforcement privilege, the Court need not reach this issue. Whether the law enforcement
privilege defense applies to the Union is relevant only if the Amended Subpoena is
presumptively enforceable under Rule 17(c) and Nixon. See Pena, 2016 WL 8735699, at *2.
For the foregoing reasons, the Subpoena and Amended Subpoena are unenforceable. So the

Union’s motion to quash must be granted.°

 

5 The Union misconstrues Tagliaferro’s Brady argument. (Union Reply at 2.) Tagliaferro does
not argue that the Union’s Inspector General office is a law enforcement agency that must abide
by Brady and thus that it must produce the requested documents in the Amended Subpoena.
(Tagliaferro Second Resp. at 2.) Instead, Tagliaferro’s position is that the Inspector General’s
office is not a law enforcement agency entitled to the privilege, but “assuming arguendo” that it
is, disclosure of the relevant documents would be required under Brady. Ud.) The critical point
here is that, according to Tagliaferro, the Amended Subpoena, not Brady, forces the Union’s
hand. But as this Court has discussed, because the Amended Subpoena does not satisfy the
Nixon factors, it need not address the law enforcement privilege issue and the potential
implications that the privilege may bring to the fore under Brady.

 
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CONCLUSION
Although the motion to quash is GRANTED, Tagliaferro is free to serve another
subpoena duces tecum on the Union that comports with the four factors set forth under Nixon,
418 U.S. at 699-700.

Dated: New York, New York SO ORDERED

March 16, 2021
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PAUL A. CROTTY
United States District Judge

 
